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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal                             CASE NO.: 9:18-cv-80176-BB
   representative of the Estate of David
   Kleiman, and W&K Info Defense
   Research, LLC,

                         Plaintiffs,

   v.

   CRAIG WRIGHT,

                         Defendant.

                   PLAINTIFFS’ EXPEDITED MOTION FOR
     ENGLARGEMENT OF TIME OF EXPERT RELATED DEADLINES AND FOR
    EXTENSION OF TIME TO COMPLETE THREE FACT WITNESS DEPOSITIONS

         Plaintiffs move for an enlargement of time of expert related deadlines and for an extension

  of time to complete three fact witness depositions.

         Pursuant to this Court’s January 16, 2020 Order, the Parties’ deadline to disclose expert

  reports is March 27, 2020. ECF No. [382]. The parties have until April 17, 2020 to complete fact

  discovery.

         COVID-19 is presenting numerous complications associated with meeting deadlines set

  prior to the onset of the global pandemic. The CDC has advised people stay home if possible, and

  had advised employers attempt to minimize exposure when scheduling events. Governmental

  authorities in South Florida and New York have imposed temporary restrictions closing a broad

  spectrum of businesses and ordered residents to stay at home. Both of the law firms representing

  Plaintiffs, Roche Cyrulnik Freedman LLP and Boies Schiller Flexner LLP, have closed their

  offices, and employees are currently working from home.
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           Florida courts have followed suit. Just yesterday, the Eleventh Judicial Circuit of Miami

  Dade canceled all but emergency and constitutionally required court proceedings. See March 23,

  2020 Message from Chief Circuit Court Judge Soto. In a similar vein, the Southern District has

  reduced all staffing to maintain essential operations and has continued all jury trials and certain

  trial-specific deadlines through April 27, 2020. See Second Order Concerning Jury Trials and

  Other                  Proceedings                 2020-21,                  available                at

  https://web.flsd.uscourts.gov/uploads/adminOrders/2020/2020-21.pdf. Courts outside Florida are

  doing the same. Just yesterday, the Chancellor of the Delaware Court of Chancery issued

  Administrative Order No. 3 yesterday stating, in part:

          [I]t is important to keep things in perspective. Our nation is confronting a crisis that
          has disrupted our daily lives and the normal operations of businesses, law firms,
          government institutions, and other enterprises in unprecedented ways. The reality is
          that many hearings and case schedules will have to be adjusted, perhaps multiple
          times. In that vein, the court will be solicitous of granting any reasonable requests for
          extensions and we urge practitioners to be flexible and to work together cooperatively
          to do the same without the need for court involvement whenever possible, consistent
          with the longstanding tradition of professionalism that has defined our bar.

           As set forth below, the circumstances related to the Coronavirus pandemic have made it

  necessary for Plaintiffs to request limited extensions of certain pretrial deadlines.

           Expert Deadlines

           While Plaintiffs have made a good faith effort to retain and liaise with their existing experts,

  and to develop potential new experts, there have been a number of impediments given the global

  pandemic. Offices are closed, support staff are not onsite, experts and lawyers are unable to travel,

  in-person meetings are not possible, and the ability to review documents in a collaborative manner

  has been trying, to say the least. Plaintiffs have been doing their best to use remote connections,

  but this situation has made it difficult to meet the Court’s current deadline for disclosures.




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         Consequently, Plaintiffs are seeking a short 14-day extension of the expert related

  discovery deadlines. Importantly, Plaintiffs are not seeking an extension of the trial setting or the

  fact discovery deadlines (except for specific depositions requested below). This short extension

  should allow the parties some extra time to coordinate expert disclosures and discovery around the

  impediments caused by COVID-19. Specifically, Plaintiffs are seeking the following schedule:

         April 10, 2020          Parties to disclose expert witness summaries or reports or disclose
                                 new experts with summaries/reports

         April 17, 2020          Fact discovery completed (except as requested below)

         April 20, 2020          Parties exchange rebuttal expert summaries or reports

         May 01, 2020            All expert discovery shall be completed

         May 28, 2020            All pre-trial motions, motions in limine, and Daubert motions
                                 (which include motions to strike experts) are filed. This deadline
                                 includes all dispositive motions. Each party is limited to filing one
                                 motion in limine and one Daubert motion. If all evidentiary issues
                                 cannot be addressed in a 20-page memorandum, leave to exceed
                                 the page limit will be granted. The parties are reminded that
                                 motions in limine must contain the Local Rule 7.1(a)(3)
                                 certification.

         Fact Witness Depositions

         Pursuant to this Court’s order, the parties coordinated and conducted four days of video

  depositions in the U.K. of the Defendant, his wife, and Andrew O’Hagan in the U.K. at a time

  when the U.K. was instituting quarantines and encouraging social distancing. This even required

  moving the location of the depositions due to office closures that were put in place after the first

  day of depositions. Needless to say, Plaintiffs have done all they can to keep this Court’s current

  deadlines. To that end, the parties are almost done taking fact witness depositions.

         Plaintiffs have three fact witness depositions left. Unfortunately, one of these witness has,

  and the other has indicated they intend to, challenge the subpoenas served on them. For one, the




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  challenge has been fully briefed before the Eastern District of New York since January 2020. The

  other has indicated he will file a motion to quash by the end of this week. These witnesses are

  important to Plaintiffs’ case. Given the current circumstances, it seems unlikely either motion will

  be resolved before the discovery cutoff.

             Furthermore, Plaintiffs have been attempting to serve Jimmy Nguyen with a deposition

  subpoena since February 14, 2020. Plaintiffs’ process servers attempted to serve Mr. Nguyen at

  his home on five separate occasions during the month of February 2020. Plaintiffs’ process servers

  have tried a few more times in March 2020, but still have not been able to serve him. Additionally,

  Plaintiffs attempted to contact Mr. Nguyen via email at an address Mr. Nguyen has previously

  corresponded with counsel from, but have not received a response. Plaintiffs believe that Mr.

  Nguyen, an American citizen, is either intentionally evading service, traveling outside of the

  country, or both. Mr. Nguyen’s twitter feed indicates that, over the past few months, he has spent

  a significant amount of time traveling outside of the country with Dr. Wright. He would therefore

  be aware of the discovery cutoff, and know that Plaintiffs are running out of time to serve him.1

             Consequently, Plaintiffs seek permission to take these three depositions after the close of

  fact discovery, if necessary.

  CONCLUSION

             Plaintiffs respectfully request the Court grant the short extensions to the Court’s current

  expert discovery deadlines and grant a small exception to the current fact discovery cutoff for the

  three abovementioned depositions (if necessary). These extensions will not affect the trial setting,

  and therefore will not prejudice any party; but they will enable Plaintiff to coordinate with experts

  and gather necessary deposition testimony while protecting themselves, opposing counsel, experts,



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      If Plaintiffs cannot serve Mr. Nguyen shortly, they intend to seek the Court’s assistance in this matter.


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  and witnesses during the COVID-19 crisis.

                                      EXPEDITED MOTION

         Plaintiffs require an expedited ruling on this motion by March 26, 2020 as the current expert

  disclosure deadline is March 27, 2020.


                               S.D. FLA. L.R. 7.1 CERTIFICATION

         In accordance with S.D. Fla. L.R. 7.1(a)(3), counsel for Plaintiffs conferred with

  Defendant’s counsel who opposes the relief sought herein.

                                                      Respectfully submitted,

   Dated: March 24, 2020                              /s/ Velvel (Devin) Freedman
                                                      Velvel (Devin) Freedman, Esq.
                                                      Florida Bar No. 99762
                                                      ROCHE CYRULNIK FREEDMAN LLP
                                                      200 S. Biscayne Blvd, Suite 5500
                                                      Miami, Florida 33131
                                                      Telephone: (305) 357-3861
                                                      vel@rcfllp.com
                                                      nbermond@rcfllp.com

                                                      Kyle W. Roche, Esq.
                                                      Joseph M. Delich, Esq.
                                                      Admitted Pro Hac Vice
                                                      ROCHE CYRULNIK FREEDMAN LLP
                                                      99 Park Avenue, Suite 1910
                                                      New York, NY 10016
                                                      kyle@rcfllp.com
                                                      jdelich@rcfllp.com

                                                      Andrew S. Brenner, Esq.
                                                      BOIES SCHILLER FLEXNER LLP
                                                      100 SE 2nd Street, Suite 2800
                                                      Miami, Florida 33131
                                                      abrenner@bsfllp.com


                                                      Counsel to Plaintiff Ira Kleiman as Personal
                                                      Representative of the Estate of David Kleiman
                                                      and W&K Info Defense Research, LLC



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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 24, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                                  /s/ Velvel (Devin) Freedman
                                                  VELVEL (DEVIN) FREEDMAN




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